&lt;HTML&gt;
&lt;HEAD&gt;
&lt;META NAME="Generator" CONTENT="WordPerfect 9"&gt;
&lt;TITLE&gt;&lt;/TITLE&gt;
&lt;/HEAD&gt;
&lt;BODY TEXT="#000000" LINK="#0000ff" VLINK="#551a8b" ALINK="#ff0000" BGCOLOR="#c0c0c0"&gt;

&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/CENTER&gt;
&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt;
&lt;/P&gt;
&lt;STRONG&gt;&lt;CENTER&gt;NO. 03-9&lt;A NAME="1"&gt;7&lt;/A&gt;-00&lt;A NAME="2"&gt;100&lt;/A&gt;-CR&lt;/CENTER&gt;
&lt;/STRONG&gt;

&lt;P&gt;&lt;STRONG&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt;
&lt;/STRONG&gt;&lt;/P&gt;



&lt;CENTER&gt;&lt;A NAME="3"&gt;Ex Parte: Lawrence Michael Harrison&lt;/A&gt;, Appellant&lt;/CENTER&gt;


&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt;
&lt;/STRONG&gt;&lt;/P&gt;
&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF &lt;A NAME="4"&gt;TRAVIS&lt;/A&gt; COUNTY, &lt;A NAME="5"&gt;299TH&lt;/A&gt; JUDICIAL DISTRICT&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;

&lt;P&gt;&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NOS. &lt;A NAME="6"&gt;&lt;/A&gt;0930285, 0930286, 0931482, 0955525, 0962429, 0962434, 0962436 &amp;amp; 0962439&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt; &lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;HONORABLE &lt;A NAME="7"&gt;HUME COFER&lt;/A&gt;, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

&lt;P&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt;
&lt;/STRONG&gt;&lt;/P&gt;


PER CURIAM

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;	&lt;SPAN STYLE="font-family: CG Times Regular"&gt;	Appellant moves to dismiss his appeal from an order of the district court denying relief on
pretrial writ of habeas corpus.  The motion is granted.&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;		The appeal is dismissed.&lt;/SPAN&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;Before Justices Powers, Jones and Kidd&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;Dismissed on Appellant's Motion&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;Filed:   March 20, 1997&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;Do Not Publish&lt;/SPAN&gt;&lt;/P&gt;

&lt;/BODY&gt;
&lt;/HTML&gt;
